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                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT
                    CASE NO. 23-5795 and 23-6108


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                     Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                     Defendants

DAVID J. WRIGHT

                     Defendant-Appellant


        PLAINTIFF/APPELLEE’S MOTION FOR AN ORDER
       REQUIRING PRE-APPROVAL OF FURTHER FILINGS
         BY DEFENDANT/APPELLANT DAVID J. WRIGHT

      Exceeding the maximum page limitation by a whopping 250 pages,1

Defendant/Appellant David J. Wright (“Wright”) has submitted his latest


1
  Rule 27(d)(2)(B) of the Federal Rules of Appellate Procedure provides “a
… typewritten motion must not exceed twenty pages.” Wright’s filing also
violates a litany of other rules including FRAP 27(a)(2)(B)(ii) (“An affidavit
must contain only factual information, not legal argument.”) and FRAP
27(a)(2)(C)(i) (“A separate brief supporting or responding to a motion must
not be filed.”). While it is reasonable to grant a certain amount of leeway to
a pro se litigant, the rules should not be suspended in their entirety. Especially
when, as here, the pro se litigant is seeking adjudication of matters unrelated
to the appeal.
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demand for “judicial notice” of irrelevant and extraneous matters that are

utterly unrelated to the issues on appeal [See Appellant’s Motion to Take

Judicial Notice of Adjudicative Facts and Correct the Record Pursuant to FRE

201(d) and FRAP 10(e)(2)(B) (Doc. 44), and the accompanying nine (9)

appendices and supporting Memorandum of Law (Docs. 43 through 52)

(collectively the “Motion”)].2 On May 5, 2025, Wright requested leave to file

this incomprehensible morass of rubbish [See, Appellant’s Motion for Leave

to Supplement Record (Doc. 37)]. Ultimately, however, he refused to wait

for permission. Incredibly, the Motion threatens that Wright will file at least

five (5) additional “Memoranda of Law” and twenty (20) additional “Stand

alone exhibits” within seventy-two (72) hours “[u]nless otherwise directed by

the Court.” [Motion (Doc. 51), page 2]. That is precisely what this Court

should do – direct Wright to immediately cease filing additional notices and

motions without pre-approval from the Court.




2
  Plaintiff/Appellee The Honorable Order of Kentucky Colonels (“HOKC”)
partially responded to Wright’s Motion for Leave to Supplement Record
(Doc. 40) and his Notice of Pro-Se Appellant’s Position, Expertise, and Basis
for Continuing Appeal (Doc. 43). Those responses are adopted and fully
incorporated herein by reference. If the Court entertains any of Wright’s post-
brief motions, HOKC respectfully requests leave to file substantive responses
to the matters under consideration.


                                      2
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         This Court has consistently held that a party cannot “multipl[y] the

proceedings in any case unreasonably and vexatiously.”            Waeschle v.

Dragovic, 687 F.3d 292, 296 (6th Cir. 2012) (per curium) (quoting 28 U.S.C.

§1927); Kempter v. Michigan Bell Tel. Co., 534 F. App’x 487, 493 (6th Cir.

2013). Furthermore, the Court has imposed pre-filing requirements, including

pre-approval, on individuals who abuse the legal process. Ortman v. Thomas,

99 F.3d 807, 811 (6th Cir. 1996). Finally, the Court has recognized that a

document can be stricken when it “has no possible relation to the

controversy.” United States v. Zayed, 225 F.3d 660 at *2 (6th Cir. 2000).

         Wright has already tendered more than a dozen filings in this appeal

seeking extraordinary relief.3 Now, he candidly acknowledges that he intends

to use the Motion to support unlimited additional filings. 4 This vexatious

behavior must stop. HOKC should not be required to address the unsupported

opinions, erroneous legal analysis, and irrelevant factual assertions recited in

Wright’s spurious filings. The Motion has no relevance to the issues on appeal




3
    See Docs. 9, 11, 17, 21, 29, 36, 42 and 44-52.
4
  Ironically, Wright asks the Court to accept his version of “historical facts”
as “incontestable” even though he has an established history of
embellishment, including misrepresenting legal authority and offering case
law citations that do not exist. [See Response to Defendant’s Motion for Rule
11 Sanctions [DE 179], PageID #4617].


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as none of the matters described therein relate to the District Court’s contempt

Order or the Order awarding HOKC attorneys’ fees – the only two Orders

which are the subject of this appeal. The Court must impose pre-filing

restrictions on Wright pursuant to its inherent authority and the Federal Rules

of Appellate Procedure.

                               CONCLUSION

      For the reasons set forth herein, the Motion, and all other post-brief

filings by Wright, should be stricken from the Court’s record and Wright

should be directed to make no additional filings without first securing leave

of Court.

                                        Respectfully submitted,

                                       /s/ Cornelius E. Coryell II
                                       Cornelius E. Coryell II
                                       Julie Laemmle Watts
                                       WYATT, TARRANT & COMBS, LLP
                                       400 West Market Street, Suite 2000
                                       Louisville, Kentucky 40202
                                       (502) 589-5235
                                       ccoryell@wyattfirm.com
                                       jwatts@wyattfirm.com

                                       Counsel for Plaintiff/Appellee, The
                                       Honorable Order of Kentucky
                                       Colonels, Inc.




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                      CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing has been
served upon the following, by electronic mail, on this the 29th day of May,
2025:

 David J. Wright
 302 General Smith Drive
 Richmond, KY 40475
 david.wright@globcal.net


                                       /s/ Cornelius E. Coryell II

                                       Counsel for Plaintiff/Appellee The
                                       Honorable Order of Kentucky
                                       Colonels, Inc.
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